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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, ex rel.,
W. Benson Chiles and Chris Manthey,

                               Plaintiffs,
              -v-                                        Case No. 1:21-cv-05743 (JMF)

Cooke Inc. et al.,
                                                         ORAL ARGUMENT REQUESTED
                               Defendants.


   DEFENDANTS COOKE INC., COOKE AQUACULTURE INC., COOKE OMEGA
     INVESTMENTS INC., COOKE SEAFOOD USA, INC., OMEGA PROTEIN
    CORPORATION, OMEGA PROTEIN, INC., GLENN COOKE, AND BRET D.
              SCHOLTES’ NOTICE OF MOTION TO DISMISS
                 PLAINTIFFS’ AMENDED COMPLAINT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, dated

August 20, 2024, the accompanying Declaration of David Pivnick, dated August 20, 2024, and

exhibits annexed thereto, and upon all the pleadings and proceedings in this matter, Defendants

Cooke Inc., Cooke Aquaculture Inc., Cooke Omega Investments Inc., Cooke Seafood USA, Inc.,

Omega Protein Corporation, Omega Protein, Inc., Glenn Cooke, and Bret D. Scholtes (collectively,

the “Cooke Defendants”), respectfully move this Court, before the Honorable Jesse M. Furman,

United States District Judge, at the Thurgood Marshall United States Courthouse for the Southern

District of New York, located at 40 Foley Square, New York, New York 10007, on a date and time

to be determined by the Court, for an Order pursuant to Rules 8, 9(b), and 12(b)(6) of the Federal

Rules of Civil Procedure, granting the Cooke Defendants’ Motion to Dismiss Relators’ Amended

Complaint for failure to state a claim upon which relief can be granted and failure to plead with

the requisite particularity, and for such other, further, or different relief as the Court deems just

and proper.
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       PLEASE TAKE FURTHER NOTICE that the Cooke Defendants preserve their right to

file and serve a reply in response to any opposition submitted by Relators.

       PLEASE TAKE FURTHER NOTICE that, pursuant to this Court’s July 15, 2024 Order

(Dkt. 43), any opposition papers shall be served upon the undersigned and filed by the Relators

within sixty (60) days of the filing of this Motion and Memorandum in Support, and any reply

papers shall be served and filed by the Cooke Defendants within twenty-one (21) days after filing

and service of any opposition papers.

Dated: New York, New York
       August 20, 2024
                                           Respectfully submitted,

                                           _/s/ David J. Pivnick_________________
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                                        Attorneys for Cooke Inc., Cooke Aquaculture Inc., Cooke
                                        Omega Investments Inc., Cooke Seafood USA, Inc., Omega
                                        Protein Corporation, Omega Protein, Inc., Glenn Cooke,
                                        and Bret D. Scholtes

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